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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                  Southern District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                       Kristin Olmstead                              )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 1:23-cv-9031
                                                                     )
                   Proof Technology, Inc.                            )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Proof Technology, Inc.
                                       1800 N Gaylord Street
                                       Denver, CO 80206




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Phillips & Associates, PLLC
                                       Jesse S. Weinstein, Esq.
                                       45 Broadway, Ste. 430
                                       New York, NY 10006
                                       (212) 248-7431
                                       jweinstein@tpglaws.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

                 10/16/2023                                                           s/ G. Pisarcyk
Date:
                                                                                       Signature of Clerk or Deputy Clerk
